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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  June 20, 2023
                        UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


RONNIE WILSON,                  §
                                §
       Plaintiff,               §
                                §
VS.                             §               CIVIL ACTION NO. 4:23-CV-01663
                                §
U.S. BANK NATIONAL ASSOCIATION, §
                                §
       Defendant.               §

      ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE
                 HELD ON June 28, 2023 at 9:00 AM

      Appearances:                 Waived


      The following schedule shall govern the disposition of this case:


      Initial Disclosures due by:                      Completed
      New parties/class allegations by:                None
      Discovery to be completed by:                    December 20, 2023
      Dispositive motions due by:                      January 15, 2024
      Docket call to be held at 11:30 AM on:           April 1, 2024
      Estimated trial time: 8 hours                    Bench Trial


The following rulings were made:

   • Discovery may be extended by agreement of the parties without Court intervention.
      The dispositive motion deadline and docket call dates, however, may not be
      extended without leave of Court.
   • Attorney’s fee applications are handled on the papers of the parties after notice.


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  • Expedited responses are required on all pretrial motions save dispositive motions.

      It is so ORDERED.

       SIGNED on June 20, 2023, at Houston, Texas.


                                               _______________________________
                                               Kenneth M. Hoyt
                                               United States District Judge




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